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                             NO. 23-________


             IN THE SUPREME COURT OF ALABAMA


                  KENNETH EUGENE SMITH, Petitioner

                                     V.


                           STATE OF ALABAMA.


              On Petition for a Writ of Certiorari to the
        Alabama Court of Criminal Appeals, No. CR-2023-0594

         On Appeal from the Circuit Court of Jefferson County,
                       No. CC-1989-001149.61


              PETITION FOR WRIT OF CERTIORARI


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                     DECISION TO BE REVIEWED

     Kenneth Eugene Smith petitions for a writ of certiorari for this

Court to review the decision of the Alabama Court of Criminal Appeals

dated December 8, 2023, attached as Exhibit A, which affirmed the

dismissal of Mr. Smith’s Second Petition for Relief from his Death

Sentence under Alabama Rule of Criminal Procedure 32 without a

hearing. Mr. Smith’s Petition seeks to vindicate his right to be free from

cruel and unusual punishment under the U.S. and Alabama

Constitutions in the State’s planned second attempt to execute him after

its failed first attempt in November 2022—the third execution in a row

that was aborted or botched for the same reason: an inability to set

intravenous (IV) lines. Mr. Smith’s Petition was based solely on facts

that arose, and could not have been asserted before, the State’s failed

execution attempt in November 2022. The Court of Criminal Appeals

overruled Mr. Smith’s Application for Rehearing on December 15, 2023,

in an order attached as Exhibit B.

                        PROCEEDINGS BELOW

     Mr. Smith was indicted in Colbert County for capital murder in

1988. Exhibit C ⁋ 1. In light of prejudicial pretrial publicity, the circuit

court transferred venue to Jefferson County. Id. ⁋ 2. In 1996, Mr. Smith
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was convicted of capital murder. Id. ⁋ 3. Although the jury recommended

by a vote of 11 to 1 that Mr. Smith be sentenced to life imprisonment

without the possibility of parole, the trial court overrode that

recommendation and sentenced Mr. Smith to death. Exhibit C, ⁋ 3.

     In September 2022, this Court scheduled Mr. Smith’s execution by

lethal injection for November 17, 2022. Id. ⁋⁋ 10-11. But the State,

through the Alabama Department of Corrections (ADOC), failed to

execute Mr. Smith on the scheduled date because it was unable to set IV

lines. Id. ⁋⁋ 12, 31-32. ADOC’s multiple unsuccessful attempts to do so

caused Mr. Smith severe and ongoing physical and psychological pain.

Id. ⁋⁋ 12-13, 34-36.

     On May 12, 2023, Mr. Smith filed a Rule 32 Petition in the Circuit

Court of Jefferson County seeking relief as a result of the State’s failed

execution attempt. Mr. Smith alleged that his was the third straight

execution that ADOC botched or failed to complete because of its inability

to place IV lines in the inmate. Id. ⁋ 22. ADOC did nothing after the first

two to investigate what happened or why, or make any effort to prevent

a recurrence when it attempted to execute Mr. Smith. Id. ⁋⁋ 22, 26. Mr.

Smith asserted that, given the superadded pain to which ADOC


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subjected him in November 2022 and ADOC’s deliberate indifference to

his constitutional rights—as demonstrated by its failure to investigate

the cause of the two botched executions immediately preceding his—a

second attempt to execute him by any method would violate his right to

be free from cruel and unusual punishment under the Eighth

Amendment to the U.S. Constitution and Article I, § 15 of the Alabama

Constitution. Id. ⁋⁋ 17, 26-30. The circuit court granted the State’s

motion to dismiss the Petition without holding an evidentiary hearing,

and the Court of Criminal Appeals affirmed the dismissal without

hearing oral argument. The Court of Criminal Appeals overruled Mr.

Smith’s application for a rehearing, and this petition follows.1

                   REASONS TO GRANT THE WRIT

     This Court should grant Mr. Smith’s petition for writ of certiorari

because the Alabama Court of Criminal Appeals’ decision directly

conflicts with multiple precedents governing both the scope of the Eighth

Amendment’s prohibition on cruel and unusual punishment and the

pleading standard for Rule 32 petitions. See Ala. R. App. P. 39(a)(1)(D).



1 Pursuant to Ala. R. App. P. 39, the Statement of Facts presented to the

Court of Criminal Appeals when Mr. Smith sought rehearing is verified
and attached as Exhibit D.
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Most importantly, the Court of Criminal Appeals’ opinion failed to

acknowledge, much less apply, the correct legal test to Mr. Smith’s

Eighth Amendment claim: that a State’s successive attempt to execute a

condemned person after “a series of abortive attempts or even a single,

cruelly willful attempt” is prohibited. La. ex rel. Francis v. Resweber, 329

U.S. 459, 471 (1947) (Frankfurter, J., concurring); Baze v. Rees, 553 U.S.

35, 50 (2008) (plurality op.). And because the Court of Criminal Appeals’

decision disregarded the correct legal standard, it also failed to recognize

that Mr. Smith’s Petition pleaded unrefuted factual allegations that

provide a clear and specific statement of the grounds for relief, which—

as this Court has made clear—is all that is required at the pleading stage.

     While those errors alone are a sufficient basis for granting

certiorari and reversing the Court of Criminal Appeals’ decision, there is

another, independent basis for granting certiorari: the question whether

Article I, Section 15 of the Alabama Constitution prohibits a second

execution attempt under the circumstances alleged in Mr. Smith’s

Petition is one of first impression. See Ala. R. App. P. 39(a)(1)(C).




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I.   The Court of Criminal Appeals’ Opinion Conflicts With U.S.
     Supreme Court Decisions Articulating The Legal Standard
     Governing Second Execution Attempts.

     The writ of certiorari should be granted under Alabama Rule of

Appellate Procedure 39(a)(1)(D) because the Court of Criminal Appeals’

opinion conflicts with U.S. Supreme Court decisions setting forth the

legal standard that governs whether a second execution attempt violates

the Eighth Amendment. That standard originated from Resweber, where

a plurality of the U.S. Supreme Court held that “an unforeseeable

accident” caused by a “failure of equipment” that resulted in a failed

attempt to execute a condemned person by electrocution did not preclude

a second attempt. 329 U.S. at 463-64. In a concurring opinion, Justice

Frankfurter (who provided the decisive fifth vote) noted that, unlike the

“innocent misadventure” at issue in Resweber, “a series of abortive

attempts at [execution] or even a single, cruelly willful attempt,” would

preclude another attempt under the U.S. Constitution. Id. at 470-71

(Frankfurter, J., concurring).

     Since Resweber, the U.S. Supreme Court has confirmed that the

distinction   between   a   failed   execution   that   follows   from   an

“unforeseeable accident,” 329 U.S. at 464, and one that follows from a


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“series of abortive attempts . . . or a single, cruelly willful attempt,” id. at

471 (Frankfurter, J., concurring), determines whether multiple attempts

to execute a condemned person would violate the Eighth Amendment.

Baze, 553 U.S. at 50. The Court in Baze explained that “‘a series of

abortive attempts at [execution]’ . . . unlike an ‘innocent misadventure’—

would demonstrate an ‘objectively intolerable risk of harm’ that officials

may not ignore” because it “prevents [them] from pleading that they were

‘subjectively blameless for purposes of the Eighth Amendment.’” Id.

(quoting Resweber, 329 U.S. at 470-71 (Frankfurter, J., concurring)).

      The Court of Criminal Appeals’ opinion neither acknowledges nor

applies the critical distinction set forth in Baze. Instead, the Court of

Criminal Appeals, citing Resweber, reasoned that because it was not

“cruel and unusual punishment to execute an inmate who has been

subjected to a current of electricity in a previous failed execution

attempt,” then a second execution attempt after a failure to set IV lines

“certainly” is not cruel and unusual. Exhibit A at 11. But whether the

failed attempt involved electric current or the setting of IV lines is not

the correct comparison. The correct comparison is whether the failed

execution was an “unforeseeable accident” instead of a “series of abortive


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attempts . . . or a single, cruelly willful attempt.” Baze, 553 U.S. at 50;

Resweber, 329 U.S. at 470-71 (Fraunkfurter, J., concurring).2 In failing

to recognize or apply the correct legal standard, the Court of Criminal

Appeals’ opinion directly conflicts with the U.S. Supreme Court’s

decisions in Baze and Resweber.

II.   The Court of Criminal Appeals’ Opinion Conflicts With
      Alabama Supreme Court and Alabama Court of Criminal
      Appeals Decisions Regarding The Pleading Standard For
      Rule 32 Petitions.

      The writ of certiorari also should be granted under Alabama Rule

of Appellate Procedure 39(a)(1)(D) because the Court of Criminal

Appeals’ opinion conflicts with decisions from both this Court and the

Alabama Court of Criminal Appeals defining the pleading standard that

governs Rule 32 petitions. Specifically, this Court has held that “at the

pleading stage, a petitioner must only provide ‘a clear and specific

statement of the grounds upon which relief is sought.’”           Ex parte



2 The Court of Criminal Appeals also cited a decision from the Ohio
Supreme Court in reasoning that “the attempt to execute Smith was
aborted and Smith’s life was never at risk because the drugs were never
administered.” Exhibit A at 12. But whether the drugs were ever
administered is also not the correct comparison. Again, the correct test
is whether the failed execution was an unforeseeable accident, or
whether it was either a single cruelly willful attempt or part of a series
of abortive attempts—both of which run afoul of the Eighth Amendment.
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Beckworth, 190 So.3d 571, 575 (Ala. 2013) (quoting Ala. R. Crim. P.

32.6(b)). Moreover, in determining whether a Rule 32 petitioner has met

his pleading burden, “unrefuted allegations in a postconviction petition

must be accepted as true.” McBurnett v. State, 266 So.3d 122, 126 (Ala.

Crim. App. 2018) (citations, alterations and quotation marks omitted).

The Court of Criminal Appeals’ opinion plainly disregards both of those

principles.

     A.       The Court of Criminal Appeals’ decision conflicts with
              its prior precedent requiring that unrefuted factual
              allegations be accepted as true.

     Instead of accepting Mr. Smith’s specific, unrefuted factual

allegations as true—as its prior precedent requires—the Court of

Criminal Appeals disregarded them as “general assertions” that are

“wholly insufficient.” Exhibit A at 9. They are not. For example, the

court recognized that Mr. Smith alleged that he “suffered physical pain

during the November 2022 execution attempt when the execution team

‘repeatedly’ attempted to insert needles in his arms and hands for ‘nearly

two hours’ and that he had told the team that ‘they were penetrating his

muscles and causing severe pain.’” Id.




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     Nonetheless, the court faulted Mr. Smith for not alleging

“specifically how many times the team attempted to insert the IV lines,

or exactly how long the attempts continued.” Id. But Mr. Smith did

allege how long the attempts continued: he alleged that they continued

for “nearly two hours.” Exhibit C, ⁋ 25. And in faulting Mr. Smith for

not counting the precise number of needle sticks that occurred during

that long and harrowing experience—one he did not expect to survive—

the court failed to recognize and accept as true the unrefuted factual

allegations that are in the Petition. Mr. Smith specifically alleged that

the IV team “jabbed Mr. Smith repeatedly, sliding the catheter needle

continuously in and out of his arms and hands, while ignoring Mr.

Smith’s complaints that they were penetrating his muscles and causing

severe pain.”   Id. ⁋ 31.   He further alleged that “[h]aving failed to

establish IV access by the standard procedure, the IV Team next tried to

do so using a central line procedure.” Id. ⁋ 32. A federal court has

previously found those allegations sufficient to support an Eighth

Amendment claim.      See Smith v. Hamm, No. 2:22-cv-497, 2023 WL

4353143, at *7 (M.D. Ala. July 5, 2023) (concluding that allegations—

which went “well beyond merely being pricked subcutaneously over a


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brief period in an attempt to establish an IV line”—“support a plausible

claim of cruel superadded pain as part of the execution”).

      Moreover, the Court of Criminal Appeals implicitly acknowledged

that Mr. Smith specifically alleged that he suffers from post-traumatic

stress disorder causing difficulty sleeping, nightmares, hypervigilance,

hyperarousal, and disassociation.       Exhibit A at 9.      It nevertheless

concluded that those allegations are not specific enough because Mr.

Smith purportedly did not “alleg[e] specific facts regarding how those

symptoms arise to the level of a constitutional violation.”          Id.   But

whether a given set of facts “arise to the level of a constitutional violation”

is a legal question. And as Mr. Smith explained in his merits brief to the

Court of Criminal Appeals, it is well-accepted that “[t]he modern

definition of torture makes clear that torture can be either physical or

psychological in nature.” John D. Bessler, Taking Psychological Torture

Seriously: The Torturous Nature of Credible Death Threats and the

Collateral Consequences for Capital Punishment, 11 Ne. U. L. Rev. 1, 3

(2019) (emphasis in original).

      For example, a federal court recently held that a condemned person

stated a plausible Eighth Amendment claim where he alleged that the


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state “repeatedly re-schedul[ed] his execution despite knowing that they

cannot carry it out,” which “‘series of abortive attempts’ at execution

amounts to ‘psychological torture,’” resulting in “‘intense psychological

symptoms’” and “mental anguish and torment.” Pizzuto v. Tewalt, 1:23-

cv-00081, 2023 WL 4901992, at *3 (D. Idaho Aug. 1, 2023) (citation

omitted). The court concluded that the defendants’ alleged conduct was

“like dry firing in a mock execution or a game of Russian roulette,”

causing the plaintiff to “re-live his last days in a delirium of uncertainty”

and “in a state of perpetual terror,” which “plausibly constitutes cruel

and unusual punishment.” Id. at *4; see also Dobbey v. Ill. Dep’t of Corrs.,

574 F.3d 443, 445 (7th Cir. 2009) (“Mental torture is not an oxymoron,

and has been held or assumed in a number of prisoner cases to be

actionable as cruel and unusual punishment . . .—imagine falsely

informing a prisoner that he has been sentenced to death. (citation and

internal quotation marks omitted.)); State v. Adams, 91 So.3d 724, 744

(Ala. Crim. App. 2010) (the prohibition against cruel and unusual

punishments in the U.S. and Alabama Constitutions “proscribes more

than physically barbarous punishments, it embodies broad and idealistic

concepts of dignity, civilized standards, humanity, and decency”


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(citations and internal quotation marks omitted)). In refusing to consider

or discounting Mr. Smith’s detailed factual allegations, the Court of

Criminal Appeals contradicted its own decisions requiring that such

unrefuted facts be accepted as true at the pleading stage.

     B.     The Court of Criminal Appeals’ opinion conflicts with
            Alabama Supreme Court precedent holding that a Rule
            32 petitioner need only plead a clear and specific
            statement of the grounds for relief.

     Because the Court of Criminal Appeals failed to acknowledge or

apply the proper legal standard, it also failed to recognize the unrefuted

factual allegations in the Petition and in so doing, disregarded this

Court’s precedent holding that a Rule 32 petitioner “must only provide a

clear and specific statement of the grounds upon which relief is sought.”

Ex parte Beckworth, 190 So.3d at 575 (quotation marks omitted). As

explained above, the proper question is whether the failed execution was

an “unforeseeable accident” instead of a “series of abortive attempts . . .

or a single, cruelly willful attempt.” See supra p. 4-7. Mr. Smith provided

a clear and specific statement of unrefuted facts showing that his failed

execution attempt falls into the latter category:

           Mr. Smith’s was the third consecutive execution that ADOC

            botched all for the same reason—its inability to set

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      intravenous lines in the condemned person. Exhibit C, ¶¶ 22,

      25–27.

    ADOC did no investigation after the first two botched

      executions and before it attempted to execute Mr. Smith. Id.

      ¶¶ 22, 27.

    Given the previous two botched executions and ADOC’s

      failure to investigate and remedy their cause, the State

      personnel responsible for Mr. Smith’s attempted execution

      “knew or should have known . . . that the IV team would have

      great difficulty establishing IV access, resulting in severe

      physical and psychological pain to Mr. Smith.” Id. ¶ 28.

    They “further knew or should have known” that the same

      alleged consequences that befell Mr. Miller during and after

      his failed execution only two months earlier “stated a claim

      for violation of the right to be free from cruel and unusual

      punishment guaranteed by the Eighth Amendment to the

      U.S. Constitution.” Id. ¶ 29.

    ADOC nevertheless “recklessly and knowingly charged ahead

      with deliberate indifference to Mr. Smith’s rights and with


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           the same results.” Id. ¶ 30; see also Farmer v. Brennan, 511

           U.S. 825, 828 (1994) (“A prison official’s ‘deliberate

           indifference’ to a substantial risk of serious harm to an inmate

           violates the Eighth Amendment.”).

         And “ADOC’s threat to make a second attempt to execute

           Mr. Smith exacerbates his symptoms and further destabilizes

           him.” Exhibit C, ¶ 36.

     Those allegations plainly demonstrate a series of botched and

aborted executions that ADOC failed to investigate before ADOC’s

attempt to execute Mr. Smith, which caused him severe and ongoing

physical and psychological pain that is exacerbated by ADOC’s

continuing threat to put him through another execution attempt. In

other words, those allegations, taken as true, demonstrate both a “series

of abortive attempts” and a “single, cruelly willful attempt.” The Court

of Criminal Appeals’ opinion disregarding those facts conflicts with this

Court’s decisions holding that a petitioner need only plead a clear and

specific statement of the grounds for relief.




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III. This Court Should Decide As A Matter Of First Impression
     That The Alabama Constitution Prohibits A Second
     Execution Attempt Following A Series of Abortive Attempts
     Or One Cruelly Willful Attempt.

     Article I, Section 15 of the Alabama Constitution states that

“excessive fines shall not be imposed, nor cruel or unusual punishment

inflicted,” which mirrors the Eighth Amendment to the U.S.

Constitution. And although the U.S. Supreme Court has determined that

the Eighth Amendment prohibits a second execution attempt following a

series of abortive attempts or a single, cruelly willful attempt, whether

Article I, Section 15 of the Alabama Constitution also prohibits a second

execution attempt in the circumstances alleged here is one of first

impression. Accordingly, this Court should grant the writ of certiorari to

address that question of first impression, which implicates a foundational

right to be free from cruel and unusual punishment at the hands of the

State. See Ala. R. App. P. 39(a)(1)(C).

                             CONCLUSION

     This Court should grant certiorari and reverse.

                                   Respectfully submitted,

                                   _/s/ Andrew B. Johnson_________
                                   Andrew B. Johnson
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                                    15
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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Rule 32(d) of the Alabama Rules of Appellate

Procedure, I hereby certify that this petition for writ of certiorari

complies with the word limitation of Rules 32(b)(2) and 39(d) of the

Alabama Rules of Appellate Procedure. This petition contains 2,967

words, excluding the parts exempted by Rule 32(c) of the Alabama Rules

of Appellate Procedure.

     This petition for writ of certiorari complies with the font and type

style requirements of Rule 32(a)(7) of the Alabama Rules of Appellate

Procedure because it has been prepared using Microsoft Word in Century

Schoolbook, font size 14.



                                  _/s/ Andrew B. Johnson___________
                                   Andrew B. Johnson




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                     CERTIFICATE OF SERVICE

      I certify that on the 18th day of December 2023, I filed the

foregoing petition for writ of certiorari with the Clerk of the Court, and I

served a copy of it on counsel for the State of Alabama, addressed as

follows:

     Richard D. Anderson
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                                   _/s/ Andrew B. Johnson___________
                                   Andrew B. Johnson




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REL: December 8, 2023




Notice: This opinion is subject to formal revision before publication in the advance sheets of Southern Reporter.
Readers are requested to notify the Reporter of Decisions, Alabama Appellate Courts, 300 Dexter Avenue,
Montgomery, Alabama 36104-3741 ((334) 229-0650), of any typographical or other errors, in order that corrections
may be made before the opinion is published in Southern Reporter.




                 Alabama Court of Criminal Appeals
                               OCTOBER TERM, 2023-2024
                                _________________________

                                         CR-2023-0594
                                   _________________________

                                    Kenneth Eugene Smith

                                                      v.

                                         State of Alabama

                        Appeal from Jefferson Circuit Court
                                  (CC-89-1149.61)


KELLUM, Judge.

        The appellant, Kenneth Eugene Smith, who is currently an inmate

incarcerated on death row at Holman Correctional Facility, appeals the

circuit court's summary dismissal of his second petition for postconviction

relief filed pursuant to Rule 32, Ala. R. Crim. P.
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     In 1988, Smith was indicted for murdering Elizabeth Dorlene

Sennett for pecuniary gain, an offense defined as capital by § 13A-5-

40(a)(7), Ala. Code 1975. In 1989, Smith was convicted of that charge

and sentenced to death. On appeal, after twice remanding the case to the

trial court, this Court found that Smith was entitled to a new trial based

on a violation of the holding in Batson v. Kentucky, 476 U.S. 79 (1986).

See Smith v. State, 588 So. 2d 561 (Ala. Crim. App. 1991), on return to

remand, 620 So. 2d 727 (Ala. Crim. App.), on return to second remand,

620 So. 2d 732 (Ala. Crim. App. 1992).

     In 1996, Smith was again convicted of capital murder and

sentenced to death. This Court affirmed his conviction and sentence on

direct appeal. See Smith v. State, 908 So. 2d 273 (Ala. Crim. App. 2000),

writ quashed, 908 So. 2d 302 (Ala.), cert. denied, 546 U.S. 928 (2005). In

doing so, we set out the following facts surrounding Smith's conviction:

     "On March 18, 1988, the Reverend Charles Sennett, a
     minister in the Church of Christ, discovered the body of his
     wife, Elizabeth Dorlene Sennett, in their home on Coon Dog
     Cemetery Road in Colbert County. The coroner testified that
     Elizabeth Sennett had been stabbed eight times in the chest
     and once on each side of the neck, and had suffered numerous
     abrasions and cuts. It was the coroner's opinion that Sennett
     died of multiple stab wounds to the chest and neck.



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           "The evidence established that Charles Sennett had
     recruited Billy Gray Williams, who in turn recruited [Kenneth
     Eugene] Smith and John Forrest Parker, to kill his wife. He
     was to pay them each $1,000 in cash for killing Mrs. Sennett.
     There was testimony that Charles Sennett was involved in an
     affair, that he had incurred substantial debts, that he had
     taken out a large insurance policy on his wife, and that
     approximately one week after the murder, when the murder
     investigation started to focus on him as a suspect, Sennett
     committed suicide."

Smith, 908 So. 2d at 280. Testimony was also presented indicating that

Smith had confessed to his part in the murder and had given a detailed

account of how he and his codefendant, John Forrest Parker, had

obtained access to the victim's home and had beaten and shot her. This

Court issued a certificate of judgment on March 18, 2005.

     In 2006, Smith timely filed his first Rule 32 petition for

postconviction relief, attacking his capital-murder conviction and

sentence of death. The circuit court denied that petition, and Smith

appealed. After remanding the case three times, twice by opinion, see

Smith v. State, 160 So. 3d 40 (Ala. Crim. App. 2010), and once by order,

this Court ultimately affirmed, by unpublished memorandum, the circuit

court's order denying the petition.

     In 2015, Smith filed a petition for a writ of habeas corpus in federal

court, alleging that his counsel at his capital-murder trial had been

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ineffective. The federal court denied relief, and that denial was affirmed

on appeal. See Smith v. Commissioner, Ala. Dep't of Corr., 850 F. App'x

726 (11th Cir. 2021), cert. denied, Smith v. Hamm, ___ U.S. ___, 142 S.Ct.

1108 (2022).

     In August 2022, Smith filed in federal court a 42 U.S.C. § 1983 civil

action against the Commissioner of the Alabama Department of

Corrections, alleging, in part, that the Alabama Department of

Corrections ("DOC") "ha[d] substantially deviated from its Execution

Protocol to the point that [to execute him] would subject Smith to

intolerable pain and torture in violation of the Eighth Amendment."

Smith v. Commissioner, Ala. Dep't of Corr., No. 22-13781, November 17,

2022, (11th Cir. 2022) (not reported in Federal Reporter). That action

was dismissed, and Smith's subsequent request to amend the complaint

was denied. On appeal, the United States Court of Appeals for the

Eleventh Circuit remanded the case to allow Smith to amend the

complaint. Id. In September 2022, while Smith's appeal in the § 1983

action was pending before the Eleventh Circuit Court of Appeals, the

Alabama Supreme Court, at the request of the State, set Smith's

execution for November 17, 2022.     Smith moved to stay his execution,


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but the Alabama Supreme Court denied that motion. On November 17,

2022, the State could not execute Smith "because []DOC was unable to

set intravenous lines through which it could inject Mr. Smith with the

lethal drugs." (C. 39.) Smith's § 1983 action remains pending in federal

court. See Smith v. Hamm, No. 2:22-cv-497-RAH, July 5, 2023, (M.D.

Ala. 2023) (not reported in Federal Supplement).

     In May 2023, Smith filed a second Rule 32 petition for

postconviction relief -- the petition that is the subject of this appeal. In

the 11-page petition, Smith alleged that a second attempt to execute him,

by any means, would constitute cruel and unusual punishment in

violation of the United States and Alabama Constitutions because, he

said, the failed attempt to execute him in November 2022 had "cause[ed]

him severe and ongoing physical and psychological distress, including

post-traumatic stress disorder." (C. 37.) The State moved that Smith's

petition be dismissed, arguing that his claim was meritless and precluded

by Rule 32.2(b), Ala. R. Crim. P., as successive. Smith filed a written

objection to the State's motion. On August 11, 2023, the circuit court

issued an order summarily dismissing Smith's petition, finding that his




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claim was insufficiently pleaded. Smith timely filed a notice of appeal,

and this appeal was submitted for decision on November 14, 2023.

     On appeal, Smith argues that the circuit court erred in summarily

dismissing his petition without first conducting an evidentiary hearing

because, he says, his claim is sufficiently pleaded and not precluded as

successive. For the reasons explained below, we agree with the circuit

court that Smith's claim was insufficiently pleaded, and we also find the

claim to be meritless. Because we affirm the circuit court's judgment on

those grounds, it is unnecessary for us to address whether the claim is

precluded as successive.

     As noted above, in his petition, Smith alleged that a second attempt

to execute him, by any means, would constitute cruel and unusual

punishment in violation of the United States and Alabama Constitutions

because, he said, the failed attempt to execute him in November 2022 had

"cause[ed] him severe and ongoing physical and psychological distress,

including post-traumatic stress disorder." (C. 37.) Smith alleged that

before his attempted execution in November 2022, the State had

attempted to execute two other death-row inmates but was unable to do

so for the same reason it had failed to execute him in November 2022 --


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the inability to insert intravenous ("IV") lines in the inmates. Despite

the two previous failed attempts, Smith said, the DOC did no

investigation before his November 2022 attempted execution and was

forced to abort the November 2022 execution "nearly two hours" after

first attempting to insert the IV lines. (C. 43.) Smith then alleged:

            "In an unsuccessful attempt to establish IV lines by the
      standard procedure, the IV Team jabbed [him] repeatedly,
      sliding the catheter needle continuously in and out of his arms
      and hands, while ignoring [his] complaints that they were
      penetrating his muscles, causing severe pain.

           "Having failed to establish IV access by the standard
      procedure, the IV Team next tried to do so using a central line
      procedure.

           "Sometime before midnight, the IV Team returned to
      the execution chamber and [he] was informed that the
      execution had been aborted.

          "Mr. Smith continues to be in a great deal of physical
      and emotional pain from the attempted execution in
      November.

            "[]DOC's failed attempt to execute Smith has had
      chronically severe psychological consequences, including
      severe post-traumatic stress disorder.      In addition to
      difficulty sleeping, Smith's symptoms include nightmares,
      hypervigilance, hyperarousal, and disassociation (a defense
      mechanism to suppress threatening thoughts)."

(C. 44.)



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     Rule 32.3, Ala. R. Crim. P., provides that "[t]he petitioner shall have

the burden of pleading ... the facts necessary to entitle the petitioner to

relief." Rule 32.6(b), Ala. R. Crim. P., requires that the petition "contain

a clear and specific statement of the grounds upon which relief is sought,

including full disclosure of the factual basis of those grounds. A bare

allegation that a constitutional right has been violated and mere

conclusions of law shall not be sufficient to warrant any further

proceedings." As this Court noted in Boyd v. State, 913 So. 2d 1113 (Ala.

Crim. App. 2003):

           " 'Rule 32.6(b) requires that the petition itself disclose
     the facts relied upon in seeking relief.' Boyd v. State, 746 So.
     2d 364, 406 (Ala. Crim. App. 1999). In other words, it is not
     the pleading of a conclusion 'which, if true, entitle[s] the
     petitioner to relief.' Lancaster v. State, 638 So. 2d 1370, 1373
     (Ala. Crim. App. 1993). It is the allegation of facts in pleading
     which, if true, entitle[s] a petitioner to relief. After facts are
     pleaded, which, if true, entitle the petitioner to relief, the
     petitioner is then entitled to an opportunity, as provided in
     Rule 32.9, Ala. R. Crim. P., to present evidence proving those
     alleged facts."

913 So. 2d at 1125.

     "The burden of pleading under Rule 32.3 and Rule 32.6(b) is a
     heavy one. Conclusions unsupported by specific facts will not
     satisfy the requirements of Rule 32.3 and Rule 32.6(b). The
     full factual basis for the claim must be included in the petition
     itself. If, assuming every factual allegation in a Rule 32
     petition to be true, a court cannot determine whether the

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     petitioner is entitled to relief, the petitioner has not satisfied
     the burden of pleading under Rule 32.3 and Rule 32.6(b). See
     Bracknell v. State, 883 So. 2d 724 (Ala. Crim. App. 2003)."

Hyde v. State, 950 So. 2d 344, 356 (Ala. Crim. App. 2006).

     Smith alleged generally that he had suffered physical pain during

the November 2022 execution attempt when the execution team

"repeatedly" attempted to insert needles in his arms and hands for

"nearly two hours" and that he had told the team that "they were

penetrating his muscles and causing severe pain." However, he did not

allege specifically how many times the team attempted to insert the IV

lines, or exactly how long the attempts continued. He also made only a

bare allegation that he "continues" to suffer physical pain, without

alleging specific facts describing that pain. Finally, he made a bare

allegation that he suffers from post-traumatic stress disorder causing

difficulty sleeping, nightmares, hypervigilance, hyperarousal, and

disassociation, without alleging specific facts regarding how those

symptoms rise to the level of a constitutional violation. Smith's general

assertions in his petition are wholly insufficient to satisfy his burden of

pleading.




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      Moreover, Smith's claim is meritless. In Louisiana ex rel. Francis

v. Resweber, 329 U.S. 459 (1947), the defendant was sentenced to death,

and the State of Louisiana attempted to execute that sentence by use of

an electric chair. "The executioner threw the switch but, presumably

because of some mechanical difficulty, death did not result.             [The

defendant] was thereupon removed from the chair and returned to

prison. ...   A new death warrant was issued by the Governor of

Louisiana." 329 U.S. at 460-61. The defendant then filed a petition for

a writ of habeas corpus alleging, in part, that it would be cruel and

unusual punishment to subject him to a second execution. A plurality of

the United States Supreme Court rejected the argument, stating:

            "Petitioner's suggestion is that because he once
      underwent the psychological strain of preparation for
      electrocution, now to require him to undergo this preparation
      again subjects him to a lingering or cruel and unusual
      punishment. Even the fact that petitioner has already been
      subjected to a current of electricity does not make his
      subsequent execution any more cruel in the constitutional
      sense than any other execution. The cruelty against which
      the Constitution protects a convicted man is cruelty inherent
      in the method of punishment, not the necessary suffering
      involved in any method employed to extinguish life humanely.
      The fact that an unforeseeable accident prevented the prompt
      consummation of the sentence cannot, it seems to us, add an
      element of cruelty to a subsequent execution. There is no
      purpose to inflict unnecessary pain nor any unnecessary pain
      involved in the proposed execution. The situation of the

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     unfortunate victim of this accident is just as though he had
     suffered the identical amount of mental anguish and physical
     pain in any other occurrence, such as, for example, a fire in
     the cell block. We cannot agree that the hardship imposed
     upon the petitioner rises to that level of hardship denounced
     as denial of due process because of cruelty."

329 U.S. at 464. If it is not cruel and unusual punishment to execute an

inmate who has been subjected to a current of electricity in a previous

failed execution attempt, then it is certainly not cruel and unusual

punishment to execute an inmate after the failure to insert an IV line in

a previous failed execution attempt.

     Indeed, the Ohio Supreme Court so held in State v. Broom, 146 Ohio

St. 3d 60, 51 N.E.3d 620 (2016), in which it rejected an argument that it

would be a violation of the Ohio Constitution to execute Romell Broom

after state officials had been unsuccessful in inserting IV lines in the first

attempted execution.

           "Broom has also sought relief under the Ohio
     Constitution. Article I, Section 9 of the Ohio Constitution
     provides, 'Excessive bail shall not be required; nor excessive
     fines imposed; nor cruel and unusual punishments inflicted.'
     This court has long held that the Ohio Constitution is a
     'document of independent force.' Arnold v. Cleveland, 67 Ohio
     St. 3d 35, 616 N.E.2d 163 (1993), paragraph one of the
     syllabus. The United States Constitution provides a floor for
     individual rights and civil liberties, but state constitutions are
     free to accord greater protections. Id. And recently, this court
     held for the first time that Article I, Section 9 provides

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     protection 'independent of' the Eighth Amendment. In re
     C.P., 131 Ohio St. 3d 513, 2012-Ohio-1446, 967 N.E.2d 729, ¶
     59. But we have also noted that cases involving cruel and
     unusual punishments are rare, 'limited to those involving
     sanctions which under the circumstances would be considered
     shocking to any reasonable person.' McDougle v. Maxwell, 1
     Ohio St. 2d 68, 70, 203 N.E.2d 334 (1964).

           "When the execution team was unable to establish IV
     lines, the attempt to execute Broom was halted. Because the
     lethal-injection drugs were never introduced into the IV lines,
     the execution was never commenced. The state also
     demonstrated in the executions that were conducted after
     September 2009 that it is committed to following the protocols
     as written. Because Broom's life was never at risk since the
     drugs were not introduced, and because the state is
     committed to carrying out executions in a constitutional
     manner, we do not believe that it would shock the public's
     conscience to allow the state to carry out Broom's execution.
     We therefore conclude that Article I, Section 9 of the Ohio
     Constitution does not bar the state from executing Broom's
     death sentence."

146 Ohio St. 3d at 73-74, 51 N.E.3d at 633. Similarly, here, based on

Smith's pleadings in his Rule 32 petition, when the execution team was

unable to insert the IV lines, the attempt to execute Smith was aborted

and Smith's life was never at risk because the drugs were never

administered. In addition, in Alabama, "[a] death sentence shall be

executed by lethal injection, unless the person sentenced elects to be

executed by electrocution or nitrogen hypoxia." § 15-18-82.1(a), Ala. Code

1975. In his reply brief, Smith asserts that the State has "moved to

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execute [him] using [nitrogen hypoxia]" (Smith’s reply brief at p. 5, n.2),

and in his § 1983 action in federal court, Smith "sufficiently pleaded that

nitrogen hypoxia will significantly reduce his pain."            Smith v.

Commissioner, Ala. Dep't of Corr., No. 22-13781, November 17, 2022

(11th Cir. 2022) (not reported in Federal Reporter). Accordingly, a second

attempt at execution will not be cruel and unusual punishment, and his

claim to the contrary is without merit.

     Rule 32.7(d), Ala. R. Crim. P., authorizes the circuit court to

summarily dismiss a petitioner's Rule 32 petition

     "[i]f the court determines that the petition is not sufficiently
     specific, or is precluded, or fails to state a claim, or that no
     material issue of fact or law exists which would entitle the
     petitioner to relief under this rule and that no purpose would
     be served by any further proceedings ...."

See also Hannon v. State, 861 So. 2d 426, 427 (Ala. Crim. App. 2003);

Cogman v. State, 852 So. 2d 191, 193 (Ala. Crim. App. 2002); Tatum v.

State, 607 So. 2d 383, 384 (Ala. Crim. App. 1992). "Summary disposition

is also appropriate when the petition is obviously without merit or where

the record directly refutes a Rule 32 petitioner's claim." Lanier v. State,

296 So. 3d 341, 343 (Ala. Crim. App. 2019). Because Smith's claim is

insufficiently pleaded and meritless, summary disposition of his Rule 32


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petition without an evidentiary hearing was appropriate.

     For the foregoing reasons, we affirm the circuit court's summary

dismissal of Smith's second Rule 32 petition.

     AFFIRMED.

     Windom, P.J., and McCool, Cole, and Minor, JJ., concur.




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         Exhibit B
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ALABAMA COURT OF CRIMINAL APPEALS




                               December 15, 2023

CR-2023-0594
Kenneth Eugene Smith v. State of Alabama (Appeal from Jefferson Circuit Court:
CC-89-1149.61)

                                  NOTICE

      You are hereby notified that on December 15, 2023, the following action was
taken in the above-reference cause by the Court of Criminal Appeals:

      Application for Rehearing Overruled.




                                             D. Scott Mitchell, Clerk
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         Exhibit C
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            IN THE CIRCUIT COURT OF JEFFERSON COUNTY, ALABAMA

KENNETH EUGENE SMITH                         *
                                             *
                        Petitioner,          *
                                             *
       v.                                     *      No. CC 1989-1149-60
                                             *
STATE OF ALABAMA,                            *
                                             *
                        Respondent.          *

 SECOND PETITION FOR RELIEF FROM DEATH SENTENCE UNDER ALABAMA
                  RULE OF CRIMINAL PROCEDURE 32

       Petitioner Kenneth Eugene Smith, now incarcerated on death row at William C. Holman

Correctional Facility ("Holman") in Atmore, Alabama, petitions this Court for relief from his death

sentence. The State through the Alabama Department of Corrections ("ADOC") attempted, but

failed, to execute Mr. Smith on November 17, 2022, causing him severe and ongoing physical and

psychological distress, including post-traumatic stress disorder. Mr. Smith has pending in the

United States District Court for the Middle District of Alabama certain federal-law claims, under

42 U.S.C. § 1983, to recover for his injuries and damages arising out of that failed execution

attempt, and to prevent the State from attempting to execute him again by lethal injection. But any

second attempt to execute Mr. Smith, by whatever means, would trigger additional severe

psychological distress in violation of his right to be free from cruel and unusual punishment and

would itself be a violation of Mr. Smith's rights under the Eighth and Fourteenth Amendments to

the United States Constitution and under Article I, § 15 of the Alabama Constitution-particularly

because the State's last two attempts to conduct an execution, before the State attempted to execute

Mr. Smith in November 2022, had been botched or aborted. This petition raises that separate

constitutional claim.
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       This is Mr. Smith's second petition seeking relief under Alabama Rule of Criminal

Procedure 32. There is good cause to consider and grant this petition because the single ground

for relief stated herein was not-and, indeed, could not have been-known to Mr. Smith before

his abo1ied execution in November 2022, which occurred years after the judgment denying his

first petition became final in August 2014. Any failure to consider this petition would result in

manifest injustice.

       In support of his petition, Mr. Smith states the following:

                                   PROCEDURAL HISTORY

        1.     On April 7, 1988, Mr. Smith was indicted in Colbert County for capital murder in

violation of Ala. Code§ 13A-5-40(a)(7). Vol. 1 at 65-66.

       2.      By order dated February 28, 1989, the trial comi transferred venue of Mr. Smith's

trial to Jefferson County due to prejudicial pretrial publicity. Vol. 7 at 1294-95.

       3.      In May 1996, Mr. Smith was convicted of capital murder. Vol. 1 at 113. After a

separate penalty phase hearing, the jury recommended by a vote of 11-1 that Mr. Smith be

sentenced to life imprisonment without the possibility of parole (Vol. 1 at 114), but the trial court

overrode the jury's decision and sentenced Mr. Smith to death (Vol. 1 at 31-37).

       4.      Following his direct appeal proceedings, on March 16, 2006, Mr. Smith filed a

timely petition for relief from judgment pursuant to Rule 32 of the Alabama Rules of Criminal

Procedure in the Circuit Comi of Jefferson County. Vol. 31 at 245. On June 1, 2007, Mr. Smith

amended his petition. Vol. 32 at 428.

       5.      On December 19, 2012, the circuit court entered its final order denying Mr. Smith's

Rule 32 petition. Vol. 43 at 117-24.

       6.      On March 22, 2013, the Comi of Criminal Appeals affirmed that decision.


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       7.      On August 22, 2014, the Alabama Supreme Court denied Mr. Smith's petition for

a writ of ce1iiorari. Vol. 46 at 126.

       8.      On March 3, 2015, Mr. Smith timely petitioned for a writ of habeas corpus in the

United States District Court for the Northern District of Alabama. See Petition, Smith v. Dunn,

No. 2:15-cv-0384, DE 1 (N.D. Ala.).

       9.      On September 12, 2019, the district court denied each of the claims Mr. Smith

asserted in his habeas petition. Smith v. Dunn, No. 2:15-cv-0384, 2019 WL 4338349 (N.D. Ala.

Sept. 12, 2019). The Eleventh Circuit affirmed, see Smith v. Comm 'r, Ala. Dep 't ofCorrs., 850 F.

App'x 726 (11th Cir. 2021), and the United States Supreme Court denied a petition for a writ of

certiorari on February 22, 2022, see Smith v. Hamm, 142 S. Ct. 1108 (2022).

        10.    On June 24, 2022, the State moved in the Alabama Supreme Court to set a date for

Mr. Smith's execution by lethal injection.

        11.    By order dated September 30, 2022, the Alabama Supreme Court set Mr. Smith's

execution for November 17, 2022.

        12.    The State unsuccessfully attempted to execute Mr. Smith by lethal irtjection on

November 17, 2022, but aborted the attempt because ADOC was unable to set intravenous ("IV")

lines through which it could inject Mr. Smith with the lethal drugs.

        13.    The State's failed attempt to execute Mr. Smith caused him severe physical and

psychological pain that has had ongoing effects.

        14.    Mr. Smith is pursuing a federal action under 42 U.S.C. § 1983 alleging that making

a second attempt to execute him by lethal injection would violate his rights under the Eighth and

Fourteenth Amendments to the U.S. Constitution and seeking to prohibit the State from doing so.




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That action remains pending in the United States District Comi for the Middle District of Alabama.

See Smith v. Hamm, Docket No. 2:22-cv-497 (M.D. Ala.).

          15.   However, a claim that "challenges the validity of [Mr. Smith's] conviction or

sentence"-as opposed to a claim that challenges the method of his execution-is not available to

him in a federal action brought under 42 U.S.C. § 1983. See Nance v. Ward, 142 S. Ct. 2214, 2222

(2022).

          16.   This petition asserts just one claim-i. e., the claim that is not available to Mr. Smith

in his federal action under Nance.

          17.   In this petition, Mr. Smith alleges that making a second attempt to execute him by

any method would violate his rights under the Eighth and Fourteenth Amendments to the U.S.

Constitution and Article, I, Section 15 of the Alabama Constitution and Mr. Smith seeks to prohibit

the State from doing so. Mr. Smith could not have asse1ied this claim at trial, on appeal, or while

his first Rule 32 petition was pending. The ground for Mr. Smith's claim was not and could not

have been known to Mr. Smith until he experienced the consequences of ADOC' s abmied attempt

to execute him on November 17, 2022.

                         GROUND FOR GRANTING THE PETITION

 A SECOND ATTEMPT TO EXECUTE MR. SMITH WOULD VIOLATE HIS RIGHT
TO BE FREE FROM CRUEL AND UNUSUAL PUNISHMENT UNDER THE EIGHTH
AND FOURTEENTH AMENDMENTS TO THE U.S. CONSTITUTION AND ARTICLE
            I, SECTION 15 OF THE ALABAMA CONSTITUTION

          18.   The Eighth Amendment to the U.S. Constitution prohibits "cruel and unusual

punishments." U.S. Const. amend. VIII. Likewise A1iicle I,§ 15 of the Alabama Constitution

prohibits "cruel or unusual punishment." Ala. Const. art. I, § 15.




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       19.     The U.S. Supreme Court has explained that "[p]unishments are cruel when they

involve torture or a lingering death." Baze v. Rees, 553 U.S. 35, 49 (2008) (citation and internal

quotation marks omitted). The U.S. Supreme Comi has further elaborated that "cruel" as "the

people who ratified the Eighth Amendment would have understood it" means:

       "[p]leased with hurting others; inhuman; hard-heaiied; void of pity; wanting
       compassion; savage; barbarous; unrelenting," or "[d]isposed to give pain to others,
       in body or mind; willing or pleased to torment, vex or afflict; inhuman; destitute of
       pity, compassion or kindness."

Bucklew v. Precythe, 139 S. Ct. 1112, 1123 (2019) (quoting 1 S. Johnson, A Dictionary of the

English Language (4th ed. 1773) and 1 N. Webster, An American Dictionary of the English

Language (1828)); see also Baze, 553 U.S. at 49 (a cruel punishment "implies there is something

inhuman and barbarous, something more than the mere extinguishment of life").

       20.     A "method of execution [that] cruelly superadds pain to the death sentence" violates

the Eighth Amendment. Bucklew, 139 S. Ct. at 1125. In addition to physical pain, "[t]he modern

definition of torture makes clear that torture can be either physical or psychological in nature."

John D. Bessler, Taking Psychological Torture Seriously: The Torturous Nature ofCredible Death

Threats and the Collateral Consequences for Capital Punishment, 11 NE. U. L. REV. 1, 3 (2019)

(emphasis in original). For example, "a threat ... can rise to the level of cruel and unusual

punishment." Dobbey v. Ill. Dep 't of Corrs., 574 F.3d 443, 445 (7th Cir. 2009); see also id.

("Mental torture is not an oxymoron, and has been held or assumed in a number of prisoner cases

to be actionable as cruel and unusual punishment ... -imagine falsely informing a prisoner that

he has been sentenced to death." (citation and internal quotation marks omitted)); Shanklin v. State,

187 So.3d 734, 808 (Ala. Crim. App. 2014) ("Psychological torture can be inflicted where the

victim is in intense fear and is aware of, but helpless to prevent, impending death." (emphasis in

original, citation and internal quotation marks omitted)).

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       21.     Applying these principles, "'a series of abortive attempts at [execution]'

unlike an 'innocent misadventure'-would demonstrate an 'objectively intolerable risk of harm"'

in violation of the Eighth Amendment "that officials may not ignore." Baze, 553 U.S. at 50

(quoting Louisiana ex rel. Francis v. Resweber, 329 U.S. 459, 470-71 (1947) (Frankfurter, J.,

concurring); Farmer v. Brennan, 511 U.S. 825, 846 & n.9 (1994)).

       22.     Mr. Smith's was the third consecutive execution that the State has botched or

aborted all for the same reason-the inability of ADOC personnel to place IV lines in condemned

people. Before ADOC's aborted attempt to execute Mr. Smith in November 2022, it did nothing

to determine what happened and why during the previous two botched executions to reduce the

risk of a recurrence. Consequently, ADOC's failed attempt to execute Mr. Smith caused him

severe physical pain and psychological distress, which he continues to experience. Attempting to

execute Mr. Smith for a second time would pose an objectively intolerable risk of triggering the

same harm to Mr. Smith in violation of his right to be free from cruel and unusual punishments

under the United States and Alabama Constitutions.

       23.     ADOC's protocol for executing condemned people by lethal injection (the

"Protocol") authorizes only two methods for establishing IV access: the "standard procedure" or,

if that is unsuccessful, "a central line procedure."

       24.     It should be a straightforward process to establish IV access by the procedures

allowed by the Protocol or to determine that neither is achievable. According to the Emergency

Nurses Association Clinical Practice Guideline for Difficult Intravenous Access, "[t]he average

time requirement for peripheral IV cannulation is repo1ied at 2.5 to 16 minutes, with difficult IV

access requiring as much as 30 minutes." ENA Clinical Practice Guideline: Difficult Intravenous

Access (Revised Oct. 2015). And "[p ]atients experience increased and potentially significant pain


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in association with multiple IV attempts." J. Fields, et al., Association between multiple IV

attempts and perceived pain levels in the emergency department, 15 J. Vase. Access 514, 518

(2014); A. Bahl, et al., Defining d(fficult intravenous access (DIVA): A systematic review, I. Vase.

Access 1, 1 (Nov. 2021) ("multiple venipuncture attempts sometimes required for successful [IV]

insertion ... can cause pain and anxiety for the patient").

       25.     In attempting to establish IV access, ADOC botched the execution of Joe Nathan

James on July 28, 2022, taking three hours to accomplish it and failed to establish IV access after

nearly two hours of unsuccessful attempts during the ab01ied executions of Alan Eugene Miller on

September 22, 2022 and Mr. Smith on November 17, 2022.

       26.     ADOC did nothing after its botched execution of Mr. James and its failed execution

of Mr. Miller to investigate what happened and why to prevent a recurrence.

       27.     Despite Mr. James's botched execution and Mr. Miller's failed execution and

having done nothing to investigate what happened and why during those executions, the State and

ADOC simply moved forward with Mr. Smith's planned execution on November 17, 2022.

       28.     The IV Team, other personnel in the execution chamber, and the officials outside

the execution chamber, including Holman Warden Terry Raybon ADOC Commissioner, and John

Q. Hamm, knew or should have known based on the difficulties that occurred during Mr. James's

execution and Mr. Miller's attempted execution that the IV Team would have great difficulty

establishing IV access, resulting in severe physical and psychological pain to Mr. Smith.

       29.     They fmiher knew or should have known that what they allegedly had done to

Mr. Miller-as described in a pleading he filed in federal court-stated a claim for violation of the

right to be free from cruel and unusual punishment guaranteed by the Eighth Amendment to the




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U.S. Constitution. See Miller v. Hamm, No. 2:22-cv-506, 2022 WL 16721093, at *13-15 (M.D.

Ala. Nov. 4, 2022).

        30.    Despite all that, they recklessly and knowingly charged ahead with deliberate

indifference to Mr. Smith's rights and with the same results.

        31.    In an unsuccessful attempt to establish two IV lines by the standard procedure, the

IV Team jabbed Mr. Smith repeatedly, sliding the catheter needle continuously in and out his arms

and hands, while ignoring Mr. Smith's complaints that they were penetrating his muscles and

causing severe pain.

       32.     Having failed to establish IV access by the standard procedure, the IV Team next

tried to do so using a central line procedure.

       33.     Sometime before midnight, the IV Team returned to the execution chamber and Mr.

Smith was informed that the execution had been aborted.

       34.     Mr. Smith continues to be in a great deal of physical and emotional pain from the

attempted execution in November.

       35.     ADOC's failed attempt to execute Mr. Smith has had chronically severe

psychological consequences, including severe post-traumatic stress disorder.       In addition to

difficulty sleeping, Mr. Smith's symptoms include nightmares, hypervigilance, hyperarousal, and

disassociation (a defense mechanism to suppress threatening thoughts).

       36.     ADOC's threat to make a second attempt to execute Mr. Smith exacerbates his

symptoms and further destabilizes him.




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                                     PRAYER FOR RELIEF

       For the foregoing reasons and other such reasons as may be made upon amendment of this

petition and a full evidentiary hearing, petitioner Kenneth Eugene Smith respectfully requests that

the Court grant him the following relief:

       (a) conduct a full evidentiary hearing at which proof may be offered concerning the

           allegations in this petition;

       (b) provide petitioner, who is indigent, with funds sufficient to present witnesses, expe1is,

           and other evidence in support of the allegations contained in this petition;

       (c) issue an order relieving petitioner of his unconstitutional death sentence following a

           full and complete hearing; and

       (d) grant petitioner any such additional relief as just, equitable, and proper under federal

           and state law.




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                              ATTORNEY'S VERIFICATION

      I swear under penalty of perjury that, upon information and belief, the foregoing is true and

correct. Executed on May \~ 2023 .




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                                                       Attorneys.for Petitioner Kenneth Eugene Smith


SWORN TO AND SUBSCRJBED before me on this 12 th day of May, 2023.




C~~:d2:Edc~
      Notary Public
                                      CARLA BATCHELOR
                                     My Commission Expires
                                         June 19, 2026




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby ce1iifies that on May 12, 2023, the foregoing was served by
Electronic and U.S. Mail on the following:


 Richard D. Anderson
 Office of Attorney General
 501 Washington Avenue
 Montgomery, AL 36130
 Richard.Anderson@AlabamaAG. gov




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         Exhibit D
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                    STATEMENT OF THE FACTS

     A.    The Unrefuted Factual Allegations in the Petition

     Mr. Smith’s Petition seeks relief from his death sentence under the

Eighth Amendment to the U.S. Constitution and Article I, § 15 of the

Alabama Constitution based on the following unrefuted fact allegations.

     On November 17, 2022, “[t]he State unsuccessfully attempted to

execute Mr. Smith” and instead “aborted the attempt because ADOC was

unable to set intravenous (‘IV’) lines through which it could inject

Mr. Smith with the lethal drugs.” C. 39 ¶ 12. ADOC failed to establish

IV access using the only two methods authorized by its Lethal Injection

Protocol—the “standard procedure” and “a central line procedure.” C. 42

¶ 23; C. 44 ¶¶ 31–32. “Mr. Smith’s was the third consecutive execution

that the State has botched or aborted all for the same reason—the

inability of ADOC personnel to place IV lines in condemned people.” C.

42 ¶ 22.

     “It should be a straightforward process to establish IV access by the

procedures allowed by the [ADOC’s] Protocol or to determine that neither

is achievable,” taking on average “‘2.5 to 16 minutes, with difficult IV

access requiring as much as 30 minutes.’” C. 42 ¶ 24 (citation omitted).

“And ‘patients experience increased and potentially significant pain in
                                    1
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association with multiple IV attempts.’” Id. (citation omitted). But “[i]n

attempting to establish IV access, ADOC botched the execution of Joe

Nathan James on July 28, 2022, taking three hours to accomplish it and

failed to establish IV access after nearly two hours of unsuccessful

attempts during the aborted executions of Alan Eugene Miller on

September 22, 2022 and Mr. Smith on November 17, 2022.” C. 43 ¶ 25.

     “ADOC did nothing after its botched execution of Mr. James and its

failed execution of Mr. Miller to investigate what happened and why to

prevent a recurrence” before it subsequently attempted to execute

Mr. Smith. C. 43 ¶ 26. Instead, “the State and ADOC simply moved

forward with Mr. Smith’s planned execution on November 17, 2022,”

C. 43 ¶ 27, even though they “knew or should have known based on the

difficulties that occurred during Mr. James’s execution and Mr. Miller’s

attempted execution that the IV Team would have great difficulty

establishing IV access, resulting in severe physical and psychological

pain to Mr. Smith.” C. 43 ¶ 28.

     The State and ADOC “further knew or should have known that

what they allegedly had done to Mr. Miller—as described in a pleading

filed in federal court—stated a claim for violation of the right to be free


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from cruel and unusual punishment guaranteed by the Eighth

Amendment to the U.S. Constitution.” C. 43 ¶ 29 (citing Miller v. Hamm,

No. 2:22-cv-506, 2022 WL 16721093, at *13–15 (M.D. Ala. Nov. 4, 2022)).

“Despite all that, they recklessly and knowingly charged ahead with

deliberate indifference to Mr. Smith’s rights and with the same results.”

C. 44 ¶ 30.

     “The State’s failed attempt to execute Mr. Smith caused him severe

physical and psychological pain that has had ongoing effects.” C. 39 ¶ 13;

see also C. 44 ¶¶ 31–33. “Mr. Smith continues to be in a great deal of

physical and emotional pain from the attempted execution in November.”

C. 44 ¶ 34. Among other things, “ADOC’s failed attempt to execute

Mr. Smith has had chronically severe psychological consequences,

including severe post-traumatic stress disorder. In addition to difficulty

sleeping, Mr. Smith’s symptoms include nightmares, hypervigilance,

hyperarousal, and disassociation (a defense mechanism to suppress

threatening thoughts).” C. 44 ¶ 35. “ADOC’s threat to make a second

attempt to execute Mr. Smith exacerbates his symptoms and further

destabilizes him.” C. 44 ¶ 36.




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     Based on those unrefuted facts, Mr. Smith alleged “that making a

second attempt to execute him by any method would violate his rights

under the Eighth and Fourteenth Amendments to the U.S. Constitution

and Article I, Section 15 of the Alabama Constitution” and he sought “to

prohibit the State from doing so.” C. 40 ¶ 17.

     B.    The Circuit Court Decision

     The State moved to dismiss the Petition on July 28, 2023. C. 58.

Mr. Smith opposed the State’s motion on August 11. C. 75. About five

hours after Mr. Smith submitted his opposition, the circuit court issued

an order denying Mr. Smith’s claim and dismissing the Petition

(“Order”). C. 20. The Order does not address or even acknowledge any

of the arguments raised in Mr. Smith’s opposition.

     C.    Court of Criminal Appeals Proceedings

     Mr. Smith appealed the circuit court’s decision.          This Court

affirmed the circuit court’s summary dismissal of the Rule 32 Petition.

Smith, 2023 WL 8506490. Mr. Smith now seeks rehearing.




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